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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                     )
                                           )
11380 SMITH RD LLC                         )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                             )      Chapter 11
                                           )
Debtor.                                    )


  ORDER AUTHORIZING EMPLOYMENT OF BROWN DUNNING WALKER PC, AS
     SPECIAL LITIGATION COUNSEL AND FOR APPROVAL OF RETAINER


       THIS MATTER is before the Court on the application of the Debtor for an order
authorizing the employment of Brown Dunning Walker PC as special litigation counsel
for the Debtor-in-Possession and approval of retainer (Docket No. 24, the "Application").
The Debtor asserts it has provided proper notice of the Application and no objection has
been filed. The Court has reviewed the Application, including the Affidavit of Douglas W.
Brown, Esq. (Docket No. 24-1) attached thereto. Accordingly, the Court:

         HEREBY FINDS that the employment of Brown Dunning Walker PC as special
litigation counsel is in the best interest of Debtor, and that the employment is not forbidden
under the Bankruptcy Code and Rules; and therefore the Court

      HEREBY ORDERS, that Brown Dunning Walker PC is authorized to represent
Debtor as special litigation counsel in the above-captioned case; and

       FURTHER ORDERS that the retainer arrangement described in the Debtor’s
application is approved; and it is

       FURTHER ORDERED that Brown Dunning Walker PC shall not be compensated
nor reimbursed for costs from Debtor, except after application to and approval by this
Court.

DATED: March 14, 2018



                                           BY THE COURT:



                                           ________________________________
                                           Thomas B. McNamara,
                                           U.S. Bankruptcy Judge
